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UNITED STATES DISTRICT COURT
CLERK, US. DISTRICT COURT FOR THE EASTERN DISTRICT OF VIRGINIA
RICHMOND, VA. Richmond Division

 

KRISTI DUDLEY,
Plaintiff,

Vv.

BONDED CREDIT BUREAU, INC.,

t/a DRS BONDED,

Defendant.

 

MAY ~ 7 2010

CLERK. US. DISIRIGT COURT

RICHMOND, VA

 

Civil Action No. 3:10cv00203-REP

STIPULATION OF DISMISSAL WITH PREJUDICE

Pursuant to Federal Rule of Civil Procedure 41(a)(1)(ii), Plaintiffs hereby DISMISS

WITH PREJUDICE her Complaint against Defendant, BONDED CREDIT BUREAU, INC.,

t/a DRS BONDED, all parties to bear their own costs and attorneys’ fees.

DATE: May 6, 2010

DATED:

SO ORDERED:

jst (EP

Judge, United States District Court for

the Eastern District of Virginia

Robert Yl i “Cr/h

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